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 8                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 9                                     AT SEATTLE
10 OHIO SECURITY INSURANCE
   COMPANY; and THE OHIO CASUALTY                    No.: 2:21-cv-00972-RSL
11 INSURANCE COMPANY,
                                                     STIPULATED MOTION FOR DISMISSAL
12                        Plaintiff,
13         v.
14 REICHHARDT & EBE ENGINEERING,
   INC.; THE CITY OF MOUNT VERNON;
15 and COMMERCIAL COLD STORAGE,
   INC.,
16
                    Defendant.
17

18         Plaintiffs Ohio Security Insurance Company and The Ohio Casualty Insurance
19 Company (together “Ohio”) and Defendant Reichhardt & Ebe Engineering, Inc. (“R&E”)

20 have resolved their claims and hereby stipulate that all claims against one another in this

21 matter shall be dismissed with prejudice and without costs to any party.

22         All claims of every other party having already been dismissed (See Dkts. 10 & 24),
23 this matter shall be dismissed in its entirety.

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     STIPULATION AND ORDER OF DISMISSAL                              PAGE 1    Bullivant|Houser|Bailey PC
     NO.: 2:21-CV-00972-RSL                                                    925 Fourth Avenue, Suite 3800
                                                                               Seattle, Washington 98104
                                                                               Telephone: 206.292.8930
                 Case 2:21-cv-00972-RSL Document 28 Filed 12/03/21 Page 2 of 2




 1            IT IS SO ORDERED this 3rd day of December 2021.

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 4                                            Robert S. Lasnik
                                              United States District Judge
 5

 6 Presented by:

 7 BULLIVANT HOUSER BAILEY PC

 8

 9 By/s/ Jared F. Kiess
     Michael A. Guadagno, WSBA #34633
10   E-mail: michael.guadagno@bullivant.com
     Jared F. Kiess, WSBA #54532
11   E-mail: jared.kiess@bullivant.com

12 Attorneys for Plaintiffs

13

14 MONTGOMERY PURDUE PLLC

15

16 By/s/ Henry G. Ross
     Scott B. Easter, WSBA #5599
17   Email: sbe@montgomerypurdue.com
     Henry G. Ross, WSBA #51591
18   Email: hross@montgomerypurdue.com
19
   Attorneys for Defendant Reichhardt & Ebe
20 Engineering, Inc.
     4894-0347-0341.1
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      STIPULATION AND ORDER OF DISMISSAL                          PAGE 2     Bullivant|Houser|Bailey PC
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